        Case 3:23-cv-04155-YGR Document 10-32 Filed 08/17/23 Page 1 of 6




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13                               UNITED STATES DISTRICT COURT
14                 NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
15 CALIFORNIA COALITION FOR WOMEN                            Case No. 4:23-cv-04155
   PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.;
16 G.M.; A.S.; and L.T., individuals on behalf of            DECLARATION OF Z
   themselves and all others similarly situated,             T      S        IN SUPPORT
17               Plaintiffs,
                                                             OF PLAINTIFFS’ MOTIONS FOR
                                                             PRELIMINARY INJUNCTION
18        v.                                                 AND PROVISIONAL CLASS
                                                             CERTIFICATION
19 UNITED    STATES OF AMERICA FEDERAL
   BUREAU OF PRISONS, a governmental entity;
20 BUREAU     OF PRISONS DIRECTOR COLETTE
   PETERS, in her official capacity; FCI DUBLIN
21 WARDEN      THAHESHA JUSINO, in her official
   capacity; OFFICER BELLHOUSE, in his
22 individual capacity; OFFICER GACAD, in his
   individual capacity; OFFICER JONES, in his
23 individual capacity; LIEUTENANT JONES, in
   her individual capacity; OFFICER LEWIS, in his
24 individual capacity; OFFICER NUNLEY, in his
   individual capacity, OFFICER POOL, in his
25 individual capacity, LIEUTENANT PUTNAM, in
   his individual capacity; OFFICER SERRANO, in
26 his individual capacity; OFFICER SHIRLEY, in
   his individual capacity; OFFICER SMITH, in his
27 individual capacity; and OFFICER VASQUEZ, in
   her individual capacity,
28               Defendants.
     [4334030.1]
               DECLARATION OF Z     T     S        IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
                     PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
        Case 3:23-cv-04155-YGR Document 10-32 Filed 08/17/23 Page 2 of 6




 1                 I, Z    T       S       , declare:
 2                 1.     I have personal knowledge of the facts set forth herein, and if called as a
 3 witness, I could and would competently so testify. I make this declaration in support of
 4 Plaintiffs’ Motions for Preliminary Injunction and Provisional Class Certification.
 5                 2.     I was incarcerated at FCI Dublin from September 2019 to November 2022.
 6 In November 2022, I was transferred to the Northwest ICE Processing Center in Tacoma,
 7 Washington, where I am currently detained.
 8                 3.     FCI Dublin’s inadequate systems for preventing, detecting, and responding
 9 to sexual abuse have caused actual harm to myself and others incarcerated at FCI Dublin
10 and put myself and other incarcerated persons at substantial risk of serious harm from
11 sexual assault, harassment, and retaliation from staff.
12                 4.     While at FCI Dublin, I experienced sexual abuse by Officer St. Clair and
13 witnessed sexual abuse by Officer Chavez, Officer Jones, and other officers.
14                 5.     I was assaulted and harassed by Officer St. Clair while working in the
15 kitchen.
16                 6.     I worked in the kitchen beginning when I entered the facility in
17 September 2019 until the end of 2021. Officer St. Clair was an officer in charge of the
18 prison kitchen.
19                 7.     Officer St. Clair began his sexual harassment by repeatedly attempting to
20 convince me to go to the back room of the kitchen, where there are no cameras, to “show
21 me his tattoos.” I understood this to mean that he wanted to expose himself to me and
22 engage in sexual activities with me. Everyone who worked in the kitchen knew that the
23 back room was a main area where guards took incarcerated women to engage in sexual
24 activities.
25                 8.     Several times Officer St. Clair also rubbed his hands and arms on my
26 shoulders and back and motioned for me to follow him to the back room.
27                 9.     One day when I was working in the kitchen, Officer St. Clair began ordering
28 me to do various things for him. He told me, “Get down on your knees” and “bend over,”
     [4334030.1]                                          1
               DECLARATION OF Z     T     S        IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
                     PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
        Case 3:23-cv-04155-YGR Document 10-32 Filed 08/17/23 Page 3 of 6




 1 like I was a sexual object. When I said no, he got frustrated, and came from behind me
 2 and forcefully grabbed my buttocks.
 3                 10.   In early 2021, I again refused Officer St. Clair’s prompts to “go to the back”
 4 with him to engage in sexual conduct. This time, after I told him “No,” he began verbally
 5 abusing me. He called me a “bitch” in front of other officers, including Officer Poole.
 6 Eventually Officer St. Clair realized I was not going to give him the attention he wanted,
 7 and he moved on to sexually abuse and harass another incarcerated woman who worked in
 8 the kitchen.
 9                 11.   Officer Poole later told me that Officer St. Clair called me a “bitch” on a
10 number of occasions.
11                 12.   During my time at FCI Dublin, I also witnessed many officers sexually abuse
12 incarcerated women, and faced retaliation because I was a witness.
13                 13.   For example, I saw Officer Chavez and another incarcerated woman have
14 sex in the warehouse of the prison in December 2019.
15                 14.   When he learned that I saw him have sex, Officer Chavez retaliated against
16 me. One day while I was working in the kitchen, Officer Chavez grabbed me by my shirt
17 and shoved me against the wall. He violently shook me by my work uniform while my
18 coworkers watched. This attack was unprompted, and I was afraid of what else he could
19 do to me.
20                 15.   I also witnessed Officer Jones have a sexual relationship with my cellmate.
21                 16.   After Officer Jones stopped having sex with my cellmate, he started acting
22 cruelly and abusively towards both my cellmate and me. For example, he pushed my
23 cellmate against a hot oven, and she was burned as a result.
24                 17.   Because he was aware that I knew about their relationship, Officer Jones
25 often screamed at me to demean me, calling me “a fucking wetback,” which is a reference
26 to the fact that I am a longtime Legal Permanent Resident and not a U.S. Citizen.
27                 18.   Officer Jones also threatened me, saying, “I will slap the shit out of you if
28 you ever say anything.”
     [4334030.1]                                         2
               DECLARATION OF Z     T     S        IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
                     PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
        Case 3:23-cv-04155-YGR Document 10-32 Filed 08/17/23 Page 4 of 6




 1                 19.   After Officer Jones ceased having sex with my cellmate, Officers Jones, St.
 2 Clair, and Poole fired my cellmate and me from our jobs in the kitchen. Even when
 3 another officer reinstated my position in the kitchen, Officers Chavez and Jones told me,
 4 “You’re not allowed here, get the fuck out.”
 5                 20.   Officer Jones also told another woman he was engaging in sexual acts with
 6 to “Do whatever you need to put Z                in the SHU,” referring to the Special Housing Unit
 7 (SHU), which is treated like solitary confinement in the facility.
 8                 21.   As a result, this woman told officers that I got in a fight with her. That fight
 9 never occurred. Nevertheless, I was put in the SHU for a month.
10                 22.   Lieutenant Putnam finally checked the camera footage and found that I was
11 never in the room where the alleged fight occurred.
12                 23.   I was also bunkmates with a different incarcerated woman who Officer
13 Smith was sexually harassing. One day, Officer Smith locked me and my bunkmate in the
14 cell and said he would not open the door until my cellmate showed him her breasts. She
15 finally showed him her breasts and he unlocked the door and let us both out.
16                 24.   When I arrived at FCI Dublin in September 2019, I was not provided
17 adequate training and information about how to respond to staff sexual abuse.
18                 25.   There is no effective way to confidentially report sexual assault and abuse by
19 staff at FCI Dublin. I was fearful to report my experiences because of all the retaliation I
20 already faced as a result of refusing Officer St. Clair’s advances and as a result of
21 witnessing other officers engaged in sexual activities with incarcerated women.
22                 26.   As described above, I was physically assaulted by Officer Chavez, called
23 racial epithets and physically threatened by Officer Jones, verbally assaulted by Officer St.
24 Clair, fired from my job, and put in the SHU as retaliation.
25                 27.   I was terrified of what else these officers could do to me if I reported all of
26 the abuse and harassment I experienced and witnessed. I also knew there was a rampant
27 culture of protecting abusive officers at all levels of the prison so I could not trust any
28 officers. I believed all means of reporting abuse were not confidential, and the retaliation I
     [4334030.1]                                          3
               DECLARATION OF Z     T     S        IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
                     PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
        Case 3:23-cv-04155-YGR Document 10-32 Filed 08/17/23 Page 5 of 6




 1 experienced bolstered that belief.
 2                 28.   Staff at FCI Dublin prevent people from reporting sexual assault and abuse
 3 by staff and retaliate against people who do report.
 4                 29.   In early 2022, Lieutenant Putnam, the Special Investigative Specialist (SIS),
 5 called me to speak with him about my experience with sexual harassment. I was scared to
 6 speak with him because I knew Lieutenant Putnam and Officer Poole were friends. I told
 7 Lieutenant Putnam a few details but did not feel comfortable telling him everything I
 8 experienced.
 9                 30.   A month later, I also spoke to the FBI.
10                 31.   After I spoke to Lieutenant Putnam, Officers Poole, Jones, and St. Clair
11 began calling me a “snitch” whenever I walked past them.
12                 32.   This only strengthened my belief that reporting at any level of the BOP was
13 never safe.
14                 33.   When incarcerated persons report sexual abuse by staff, FCI Dublin and
15 BOP do not seriously investigate the reports. Investigations are frequently delayed and
16 overseen by staff who know and work with the offending staff member. Generally nothing
17 happens as a result.
18                 34.   The camera system at FCI Dublin is inadequate. There are some cameras
19 installed in fixed locations in the facility, but it is well known that there are no cameras in
20 the back room of the kitchen. The back room was known to be a location where guards
21 often took women to engage in sexual activities. While I was working in the kitchen,
22 Officer St. Clair repeatedly tried to get me to go to the backroom with him, presumably
23 because he knew there were no cameras there. Staff at FCI Dublin have never worn body-
24 worn cameras in the facility.
25 / / /
26 / / /
27 / / /
28 / / /
     [4334030.1]                                        4
               DECLARATION OF Z     T     S        IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
                     PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
Case 3:23-cv-04155-YGR Document 10-32 Filed 08/17/23 Page 6 of 6
